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Todd Bofferding, OSB #883720
Attorney at Law
P.O. Box 539
Hood River, OR 97031
541.490.9012
tbofferding@gorge.net
!
Attorney for Defendant Kenneth Earl Hause
!
!
!
                     IN THE UNITED STATES DISTRICT COURT
                                        !
                           FOR THE DISTRICT OF OREGON
                                        !
UNITED STATES OF AMERICA,                    )
                                             )      3:18-CR-00319-MO-4
                      Plaintiff,             )
                                             )      DEFENSE COUNSEL'S
vs.                                          )      DECLARATION IN SUPPORT OF
                                             )      DEFENDANT’S MOTION TO
KENNETH EARL HAUSE,                          )      CONTINUE TRIAL DATE
                                             )
                      Defendant.             )
!
State of Oregon     )
                    ) ss
County of Hood River)
!
        I, Todd Bofferding, appointed CJA Panel counsel for Defendant Kenneth Earl
!
Huase, hereby makes this Declaration that the following is true to the best of Counsel’s
!
knowledge, and made under the penalty of perjury:
!
        This Declaration is in support of Defendant’s Motion to Continue the Trial Date
!
which is filed simultaneously herewith.
!
        The Defendant is not in custody. Defendant first appeared in Magistrate Court in
!
this District on January 31, 2019. There has been one prior continuance of the trial date
!
1! – DECLARATION OF DEFENSE COUNSEL IN SUPPORT OF MOTION TO CONTINUE TRIAL
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in this case.
!
        Defendant requests the trial date be continued from April 13, 2020 to a firm
!
date approximately 6 months therefrom.

        Defendant is charged in this Court with RICO in violation of 18 U.S.C. 196(d),
!
and in this case he is joined by 6 other defendants who are charged with murder, of which
!
Defendant is not so charged. The grounds for a continuance as to Mr. Hause is since
!
October of 2019 Counsel and attorneys with the U.S. Attorney’s Office have engaged in
!
fruitful negotiations, final approval of which is still pending from government supervisors
!
outside of the District of Oregon. It is unknown when, or if approval will be granted,
!
although the parties are optimistic. If approval is not granted, and this case is not
!
resolved by way of a negotiated plea, the government has informed Counsel that they
!
would not object to a continuance of the trial date so that Counsel may fully engage in
!
trial preparation, complete pre-trial investigation, prepare all appropriate pre-trial legal
!
research and motions, obtain the needed experts and trial assistance within a CJA budget,
!
begin spending CJA resources in fully defending Defendant at trial, and to otherwise
!
adequately prepare for trial. If negotiations are not approved, Counsel does not believe a
!
proper defense could be presented under the current trial schedule. Therefore a
!
continuance of the trial date is justified and necessary.

        Counsel has conferred with Assistant United States Attorneys Leah Bolstad and
!
Steven Mygrant, and they do not object to the requested trial continuance. Counsel has
!
conferred with the attorneys for the remaining co-defendants who have not yet entered a
!
guilty plea, and all but Defendant #1 do not object to the requested trial continuance.


2! – DECLARATION OF DEFENSE COUNSEL IN SUPPORT OF MOTION TO CONTINUE TRIAL
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!
        Counsel has spoken with Defendant, and he understands his rights provided by
!
the Speedy Trial Act, and he agrees to waive those rights by the continuance motion, and
!
agrees that the above mentioned continuance, if granted, would constitute excludable
!
delay.

         The period of delay resulting from the granting of this continuance motion will
!
be excludable, pursuant to 18 U.S.C. 3161(h)(7)(A), (B)(iv) because the ends of justice
!
will be better served by the granting of the continuance, and a continuance will outweigh
!
the best interests of the public and Defendant in a speedier trial.
!
         RESPECTFULLY SUBMITTED this 21st day of January 2020.


                                              /s/ Todd Bofferding
                                              Todd Bofferding, OSB #883720
                                              Attorney for Defendant Hause




3! – DECLARATION OF DEFENSE COUNSEL IN SUPPORT OF MOTION TO CONTINUE TRIAL
